 8:06-cr-00142-JFB-FG3                Doc # 63      Filed: 12/27/06     Page 1 of 1 - Page ID # 170



                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                         Plaintiff,                 )
                                                    )                 8:06CR142
                vs.                                 )
                                                    )                 ORDER
MILAN ROBINSON,                                     )
                                                    )
                         Defendant.                 )

        Defendant Milan Robinson appeared before the court on Wednesday, December 27, 2006 on
a Petition for Warrant or Summons for            Offender Under Supervision [58].     The defendant     was
represented by Assistant Federal Public Defender David M. O’Neill and the United States was
represented by Assistant U.S. Attorney Michael P. Norris. Through his counsel, the defendant waived his
right to a probable cause hearing on the Report pursuant to Fed. R. Crim. P. 32.1(a)(1). The government
moved for detention. Through counsel, the defendant declined to present any evidence on the issue of
detention and otherwise waived a detention hearing. Through counsel, the defendant argued for release.
Since it is the defendant’s burden under 18 U.S.C. § 3143 to establish by clear and convincing evidence
that he is neither a flight risk nor a danger to the community, the court finds the defendant has failed to
carry his burden and that he should be detained pending a dispositional hearing before Chief Judge
Bataillon.
        I find that the Report alleges probable cause and that the defendant should be held to answer for
a final dispositional hearing before Judge Bataillon.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Judge Joseph F. Bataillon in Courtroom
No.3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on
January 29, 2007 at 8:30 a.m. Defendant must be present in person.
        2       The defendant, Milan Robinson, is committed to the custody of the Attorney General or
his designated representative for confinement in a correctional facility;
        3.      The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 27th day of December, 2006.

                                                           BY THE COURT:

                                                           s/ F. A. Gossett
                                                           United States Magistrate Judge
